         Case 1:21-cr-00128-RC Document 33-1 Filed 08/14/21 Page 1 of 6




                                                      U.S. Department of Justice

                                                      Channing D. Phillips
                                                      Acting United States Attorney

                                                      District of Columbia



August 14, 2021


BY EMAIL

Carlos Vanegas, Esq.
Assistant Federal Public Defender
Counsel for Michael Pope
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The Eaton Law Firm, PLLC
Counsel for William Pope
terry@eatonlawfirm.net


                                     Re:    United States v. William Pope and Michael Pope,
                                            Case No. 21-cr-128 (RC)


Dear Mr. Vanegas and Mr. Eaton:

        Attached please find additional discovery in this matter, which is being provided through
a shared folder on USA File Exchange (USAfx) titled “US v. William Pope and Michael Pope.”
These items are primarily being produced from the Washington Investigative File. Please note
that, despite my best efforts to remove duplicate material, there may be some overlap with items
that were produced on May 4, 2021, from the Kansas Investigative File and Idaho Investigative
File.

        These items are being provided pursuant to the agreed upon protective order, and pursuant
to that order certain items are designated as “SENSITIVE” or “HIGHLY SENSITIVE” in the list
below and in the USAfx folders.

       The following items were provided in discovery on August 14, 2021:




                                               1
             Case 1:21-cr-00128-RC Document 33-1 Filed 08/14/21 Page 2 of 6




Production Quantity     Description & Documents
Date
8/14/21    1 pdf       Opening Document
                       [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000001.pdf
8/14/21    1 pdf & 4   Opening Communication
           attachments [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000002.pdf

                        Attachments
                        0176-WF-3366759-Pope_Brothers_0000002_1A0000001_0000001.jpg
                        0176-WF-3366759-Pope_Brothers_0000002_1A0000001_0000002.png
                        0176-WF-3366759-Pope_Brothers_0000002_1A0000001_0000003.jpg
                        0176-WF-3366759-Pope_Brothers_0000002_1A0000001_0000004.jpg
8/14/21    1 pdf & 1    Lead – Michael Pope
           attachment   [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000003.pdf

                        Attachment
                        [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000003_Import.pdf
8/14/21    1 pdf        Preservation Request
                        0176-WF-3366759-Pope_Brothers_0000022.pdf
8/14/21    1 pdf        Tip – KSU PhD student inside Capitol building
                        [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000023_Import.pdf
8/14/21    1 pdf & 1    Open source videos downloaded from YouTube on January 11, 2021
           attachment   0176-WF-3366759-Pope_Brothers_0000034.pdf

                        Attachment
                        0176-WF-3366759-
                        Pope_Brothers_0000034_1A0000008_0000001_PHYSICAL.pdf
8/14/21    1 pdf        Physical Surveillance
                        [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000039.pdf
8/14/21    1 pdf        Contact with Kansas Abstracter’s Board of Examiners
                        0176-WF-3366759-Pope_Brothers_0000040.pdf
8/14/21    1 pdf & 1    Arrest warrant for William and Michael Pope
           attachment   [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000041.pdf

                        Attachment
                        [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000041_1
8/14/21    1 pdf        Removal of arrest warrant
                        [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000042.pdf




                                               2
            Case 1:21-cr-00128-RC Document 33-1 Filed 08/14/21 Page 3 of 6




8/14/21   1 pdf & 1    Warrant Removal for WILLIAM POPE and MICHAEL POPE
          attachment   [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000043.pdf

                       Attachment
                       [SENSITIVE] 0176-WF-3366759-
                       Pope_Brothers_0000043_1A0000002_0000001.pdf
8/14/21   1 pdf & 1    Warrant Entry for William and Michael Pope
          attachment   [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000044.pdf

                      Attachment
                      [SENSITIVE] 0176-WF-3366759-
                      Pope_Brothers_0000044_1A0000003_0000001.pdf
8/14/21   1 pdf & 8   Warrants issued for Twitter and Facebook
          attachments [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000045.pdf

                       Attachments
                       0176-WF-3366759-Pope_Brothers_0000045_1A0000004_0000001.pdf
                       0176-WF-3366759-Pope_Brothers_0000045_1A0000004_0000002.pdf
                       0176-WF-3366759-Pope_Brothers_0000045_1A0000004_0000003.pdf
                       0176-WF-3366759-Pope_Brothers_0000045_1A0000004_0000004.msg
                       0176-WF-3366759-Pope_Brothers_0000045_1A0000004_0000005.msg
                       0176-WF-3366759-Pope_Brothers_0000045_1A0000004_0000006.pdf
                       0176-WF-3366759-Pope_Brothers_0000045_1A0000004_0000007.pdf
                       0176-WF-3366759-Pope_Brothers_0000045_1A0000004_0000008.pdf
8/14/21   1 pdf & 1    Document the Indictment
          attachment   [HIGHLY SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000046.pdf

                      Attachment
                      0176-WF-3366759-Pope_Brothers_0000046_1A0000005_0000001.pdf
8/14/21   1 pdf & 3   Dataset query for a phone number associated with William Alexander Pope
          attachments [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000048.pdf

                       Attachments
                       [SENSITIVE] 0176-WF-3366759-
                       Pope_Brothers_0000048_1A0000020_0000001.pdf
                       [SENSITIVE] 0176-WF-3366759-
                       Pope_Brothers_0000048_1A0000020_0000002.xml
                       [SENSITIVE] 0176-WF-3366759-
                       Pope_Brothers_0000048_1A0000020_0000003.csv



                                              3
            Case 1:21-cr-00128-RC Document 33-1 Filed 08/14/21 Page 4 of 6




8/14/21   1 pdf       Dataset query for a phone number associated with Michael Anthony Pope
                      [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000050.pdf
8/14/21   1 pdf       William Pope Facebook Search Warrant
                      0176-WF-3366759-Pope_Brothers_0000054.pdf
8/14/21   1 pdf       William Pope Twitter Search Warrant
                      0176-WF-3366759-Pope_Brothers_0000055.pdf
8/14/21   1 pdf & 10 Twitter Supplement
          attachments 0176-WF-3366759-Pope_Brothers_0000056.pdf

                       Attachments
                       0176-WF-3366759-Pope_Brothers_0000056_1A0000009_0000001.txt
                       0176-WF-3366759-Pope_Brothers_0000056_1A0000009_0000002.txt
                       0176-WF-3366759-Pope_Brothers_0000056_1A0000009_0000003.txt
                       0176-WF-3366759-Pope_Brothers_0000056_1A0000009_0000004.txt
                       0176-WF-3366759-Pope_Brothers_0000056_1A0000009_0000005.txt
                       0176-WF-3366759-Pope_Brothers_0000056_1A0000009_0000006.txt
                       0176-WF-3366759-Pope_Brothers_0000056_1A0000009_0000007.asc
                       0176-WF-3366759-Pope_Brothers_0000056_1A0000009_0000008.zip
                       0176-WF-3366759-Pope_Brothers_0000056_1A0000009_0000009.txt
                       0176-WF-3366759-Pope_Brothers_0000056_1A0000009_0000010.mp4
8/14/21   1 pdf & 1    Public Tip
          attachment   [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000057.pdf

                       Attachment
                       [SENSITIVE] 0176-WF-3366759-
                       Pope_Brothers_0000057_1A0000010_0000001.pdf
8/14/21   1 pdf & 1    Public Tip
          attachment   [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000058.pdf

                       Attachment
                       [SENSITIVE] 0176-WF-3366759-
                       Pope_Brothers_0000058_1A0000011_0000001.pdf
8/14/21   1 pdf & 1    Public Tip
          attachment   [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000059.pdf

                       Attachment
                       [SENSITIVE] 0176-WF-3366759-
                       Pope_Brothers_0000059_1A0000012_0000001.pdf
8/14/21   1 pdf        Timestamps from Capitol CCTV footage
                       [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000061.pdf

                                             4
            Case 1:21-cr-00128-RC Document 33-1 Filed 08/14/21 Page 5 of 6




8/14/21   1 pdf & 8   Review of the data collected in a download of William Pope’s cellular phone
          attachments [SENSITIVE] 0176-WF-3366759-Pope_Brothers_0000062.pdf

                      Attachments
                      0176-WF-3366759-Pope_Brothers_0000062_1A0000024_0000001.jpg
                      0176-WF-3366759-Pope_Brothers_0000062_1A0000024_0000002.jpg
                      0176-WF-3366759-Pope_Brothers_0000062_1A0000024_0000003.jpg
                      0176-WF-3366759-Pope_Brothers_0000062_1A0000024_0000004.jpg
                      0176-WF-3366759-Pope_Brothers_0000062_1A0000024_0000005.jpg
                      0176-WF-3366759-Pope_Brothers_0000062_1A0000024_0000006.jpg
                      0176-WF-3366759-Pope_Brothers_0000062_1A0000024_0000007.jpg
                      0176-WF-3366759-Pope_Brothers_0000062_1A0000024_0000008.jpg
8/14/21   1 pdf & 6   Served search warrant to Facebook for Michael Pope’s account
          attachments 0176-WF-3366759-Pope_Brothers_0000063.pdf

                        Attachments
                        0176-WF-3366759-Pope_Brothers_0000063_1A0000014_0000001.msg
                        0176-WF-3366759-Pope_Brothers_0000063_1A0000014_0000003.pdf
                        0176-WF-3366759-Pope_Brothers_0000063_1A0000014_0000004.pdf
                        0176-WF-3366759-Pope_Brothers_0000063_1A0000014_0000005.msg
                        0176-WF-3366759-Pope_Brothers_0000063_1A0000014_0000006.pdf
                        0176-WF-3366759-Pope_Brothers_0000063_1A0000014_0000007.pdf
8/14/21   1 pdf         Michael Pope Facebook Search Warrant Return
                        0176-WF-3366759-Pope_Brothers_0000064.pdf
8/14/21   2 pdfs        Michael Pope Facebook Search Warrant Filings
                        21-sc-2041 Search Warrant.pdf
                        21-sc-2041 Motion to Seal.pdf
8/14/21   4 pdfs and    William Pope Facebook SW Return (Complete Unscoped)
          2 zip files   421202005779625_affidavit.pdf
                        460082565404714.pdf
                        460082565404714.zip
                        972222969983177_affidavit.pdf
                        1318957858461858.pdf
                        1318957858461858.zip




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            Case 1:21-cr-00128-RC Document 33-1 Filed 08/14/21 Page 6 of 6




8/14/21   6 pdfs and    Michael Pope Facebook SW Return (Complete Unscoped)
          3 zip files   396006681751875_affidavit.pdf
                        406251547216803.pdf
                        406251547216803.zip
                        486634972422864_affidavit.pdf
                        796542097702554.pdf
                        796542097702554.zip
                        854163058522823.pdf
                        854163058522823.zip
                        875477583068157_affidavit.pdf
8/14/21   1 pdf         Grand Jury Transcript
                        [HIGHLY SENSITIVE] Pope GJ Transcript.pdf


                                                  Respectfully,

                                                  CHANNING D. PHILLIPS
                                                  ACTING UNITED STATES ATTORNEY


                                           By:    _/s/ Jacob R. Steiner_______
                                                  Jacob R. Steiner
                                                  Trial Attorney, Detailee




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